UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE

IN RE THE MATTER OF:
Kelley Fim fan CaseNo,  Po7-CR- 80 (20-sm-]

(Petitioner's Name) (If known)

3\ Rt 4A
“ir Lee, wit 03287
G02 37 4a3 7]

(Telephone Number)

GRAND JURY TARGET / WITNESS — TRIAL WITNESS
REQUEST FOR APPOINTMENT OF COUNSEL

 

 

 

 

 

 

 

Ke [ley Fa nitan , respectfully request appointment of

counsel to represent me as a:

 

O Grand jury target O Trial witness
O Grand jury witness

x Other: Fel minary Hearing Decberlio Hecarirs , “Rev ocean Heae

 

 

 

 

 

 

| am financially unable to hire counsel. A completed Financial Affidavit is attached.

| declare under penalty of perjury that the foregoing is true and correct. pM tl

Hires 4,
Date: 26 df Kelk Frac tau hie Koa” ve gore’

Sign&ture of Petitioner

 

 

NOTE FOR GRAND JURY OR WITNESS REPRESENTATION REQUESTS:

In order for a request for counsel to be considered by the court, the petitioner must attach either a 1)
grand jury target letter, or 2) witness subpoena.

 

 

 

 

RULING BY JUDICIAL OFFICER

[} Request Approved. Appoint Counsel.
1 Request Denied.
(] Other:

 

Date:

 

U.S. Magistrate Judge
USDCNH-17B (Rev. 4/2018) (Previous Editions Obsolete)

 
 

IN THE UNITED STATES SA DISTRICT COURT

[] COURT OF APPEALS ©] OTHER (Specify Below)

 

 

 

 

 

 

IN THE CASE OF me ‘NUMBE]
, AT
Us 74- V. Corey yagi an
| PERSON REPRESENTED (Show your fill name) / 1D] Defendant - Adult I a
- DOCKET NUMBER

Kelley [Pi neg

CHARGE/OFFENSE (Describe if applicable & check box—)

Wt w hess

2] Defendant - Juvenile Magistrate Judge

3D) Appellant
4] Probation Violator District Court
5 [] Supervised Release Violator
O Felony 6 [7] Habeas Petitioner Court of Appeals

 

O Misdemeanor

71] 2255 Petitioner
8 [] Material Witness

9p Other (Specify) UU mess

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you have a job? [Yes JKINo
EMPLOYMENT | IF YES, how much do you earn per month?
Will you still have a job after this arrest? []Yes [JNo [CUnknown
Do you own any of the following, and if so, what is it worth?
APPROXIMATE VALUE DESCRIPTION & AMOUNT OWED
INCOME Home $ -~ O-
AS &. TS PROPERTY Car/Truck/Vehicle $ ~ O~
Boat $ ~O-
Stocks/bonds $ ~O- . /_. / -
Other property $ “O07 Clo Thin [ fe [S/a nine’
CASH " .
& Do you have any cash, or money in savings or checking accounts? W1 Yes LIJNo
BANK avi . 410) 06
ACCOUNTS IF YES, give the total approximate amount after monthly expenses $ 7
How many people do you financially support? _! ( mycelt ) € )
BILLS & DEBTS ON aoe EXPENSE oN DEBT
Housing
Groceries “il, Fa oud wp (osf a
Medical expenses $ 70 L0
Utilities : “0 ~ $
OBLIGATIONS
EXPENSES, & Credit cards $ om O- $
DEBTS Car/Truck/Vehicle $  - U~ $
Childcare $ —~O-7 $
Child support $ . g- $
Insurance $ ih est pares FS $
Loans $ $
Fines $ TO - $
Other $ -O 7 $

 

I certify under penalty of perjury that the foregoing is true and correct.

Ue Iley Fraaejen

b
I thon ted by ha witness

SIGNATURE OF DEFENDANT

APomey Donald Kea aveky

26

/ Datel

(OR PERSON SEEKING REPRESENTATION)

 
